
28 N.Y.2d 705 (1971)
Finkelstein Memorial Library, Appellant,
v.
Central School District No. 2, Towns of Ramapo, Clarkson, Orangetown and Haverstraw, et al., Respondents.
Court of Appeals of the State of New York.
Argued February 17, 1971.
Decided March 3, 1971.
Joel L. Scheinert and Joseph A. Hamerman for appellant.
Louis J. Lefkowitz, Attorney-General (Philip Weinberg and Samuel A. Hirshowitz of counsel), for State Comptroller and Retirement System, respondents.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Order affirmed, without costs, upon the ground that plaintiff's action was barred by the four-month limitation of CPLR 217 and by the doctrine of laches. We pass on no other question.
